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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

United States of America                           §
                                                   §
vs.                                                §      NO: AU:19-CR-00305(1)-LY
                                                   §
(1) David Randle Jakobeit                          §

                           REPORT AND RECOMMENDATION
                      OF THE UNITED STATES MAGISTRATE JUDGE

TO:         THE HONORABLE LEE YEAKEL
            UNITED STATES DISTRICT JUDGE

            The Magistrate Judge submits this Report and Recommendation to the District Court

pursuant to 28 U.S.C. § 636(b)(3). The District Court referred this case to the United States

Magistrate Judge for the taking of the defendant's felony guilty plea and for his allocution pursuant to

Federal Rule of Criminal Procedure 11.

            On January 15, 2020, the defendant and counsel appeared before the Magistrate Judge.

The undersigned addressed the defendant personally in open court, informed him of the admonishments

under Rule 11 of the Federal Rules of Criminal Procedure, and determined that he understood those

admonishments.

            Pursuant to a plea agreement, the defendant pled guilty to: Conspiracy to Possess with

Intent to Distribute Methamphetamine in violation of 21 USC 846 and 841(a)(1) and 841(b)(1)(C).

            The Magistrate Judge finds the following:

1.          The defendant, with the advice of his attorney, consented to enter this guilty plea before the

            Magistrate Judge, subject to final approval and sentencing by the District Judge;
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2.           The defendant fully understands the nature of the charge against him and possible penalties;

3.           The defendant understands his constitutional and statutory rights, understands that his

             constitutional and statutory rights can be waived, and understands the meaning and effect of

             the waiver of his constitutional and statutory rights;

4.           The defendant's plea was made freely and voluntarily;

5.           The defendant is competent to enter this plea of guilty; and

6.           There is a factual basis for this plea.

                                         RECOMMENDATION

             The Magistrate Judge RECOMMENDS the District Court accept the defendant's guilty

plea and, after reviewing the presentence investigation report, enter a Final Judgment of guilt against him.

                                                WARNING

             The parties may file objections to this Report and Recommendation.              A party filing

objections must specifically identify those findings or recommendations to which objections are being

made. The District Court need not consider frivolous, conclusive, or general objections. See Battle v.

United States Parole Comm'n, 834 F.2d 419, 421 (5th Cir. 1987).

             A party's failure to file written objections to the proposed findings and recommendations

contained within this Report within fourteen (14) days after being served with a copy of the Report shall

bar that party from de novo review by the District Court of the proposed findings and recommendations

and, except upon grounds of plain error, shall bar the party from appellate review of proposed factual

findings and legal conclusions accepted by the District Court to which no objections were filed. See 28
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U.S.C. § 636(b)(1)(C); Thomas v. Arn, 474 U.S. 140, 150-53, 106 S. Ct. 466, 472-74 (1985);

Douglass v. United Servs. Auto. Ass'n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc).

           SIGNED this 15th day of January, 2020.


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                                              ANDREW W. AUSTIN
                                              UNITED STATES MAGISTRATE JUDGE
